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                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

              Plaintiff,                             Case No. 4:11-CR-298-BLW

       v.                                            ORDER

ELDON McCONNELL,

              Defendant.



       The defendant has filed a motion to suppress that will require a hearing. Trial is

currently set for January 2, 2014. To hold a hearing on the motion and render a decision

in time to allow counsel to fully prepare for trial, the Court will need to move the trial

date. The Speedy Trial Act provides for excludable time from the filing of the motion

“through the prompt resolution of the motion.” See 18 U.S.C. § 3161(h)(1)(D); see also

United States v. Tinklenberg 131 S.Ct. 2007 (2011).

       The Court will need some time after the hearing to fully consider the arguments

and render a decision, and counsel will need time to review the decision and determine

how they will proceed. Accordingly, given all these circumstances, the Court finds that a

trial date of March 10, 2013, is reasonable. Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED, that the present trial date of

January 2, 2014, be VACATED. A new trial date is hereby set for March 10, 2014, at

1:30 p.m. in the Federal Courthouse in Pocatello, Idaho.
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       IT IS FURTHER ORDERED, that the pretrial conference shall be held on

February 27, 2014, at 4:00 p.m. by telephone with the Government to initiate the call.

The Court can be reached at 208-334-9145. The defendant need not be on the line as only

logistics will be discussed.

       IT IS FURTHER ORDERED, that the period of time between the filing date of the

motions to suppress (docket nos. 151 & 159) and the resolution of the motions within a

prompt time is excludable time under 18 U.S.C. § 3161(h)(1)(D).

       IT IS FURTHER ORDERED, that a hearing shall be held on the motions to

suppress on January 16, 2014, at 9:30 a.m. in the Federal Courthouse in Pocatello, Idaho,

before the Hon. Randy N. Smith. The motions to suppress are transferred to Judge Smith

for all purposes. Judge Winmill shall continue to preside over the case for all other

purposes.

       IT IS FURTHER ORDERED, that the Government shall file its response brief to

the motions to suppress on or before January 8, 2014. The defendant shall file a final

reply brief on or before January 13, 2014.

                                                 DATED: December 23, 2013


                                                 _________________________
                                                 B. Lynn Winmill
                                                 Chief Judge
                                                 United States District Court
